         Case 1:21-cv-00791-WMS Document 19 Filed 03/26/22 Page 1 of 3




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


WENDY RATH, individually and on behalf of
all others similarly situated,
                                                                     DEFENDANT’S NOTICE OF
                                                                    SUPPLEMENTAL AUTHORITY
                                      Plaintiff,
                                                                    IN SUPPORT OF MOTION TO
                                                                            DISMISS
                            v.
                                                                         CIVIL ACTION NO.:
JO-ANN STORES, LLC,
                                                                        1:21-CV-00791-WMS
                                      Defendant.



       Defendant Jo-Ann Stores, LLC (“Jo-Ann Stores” or the “Company”) files this Notice to

bring to this Court’s attention the New York Court of Appeals decision in Konkur v. Utica

Academy of Science Charter School, No. 8, 2022 N.Y. LEXIS 70 (Feb. 10, 2022) (copy attached

as Exhibit A). This decision from New York’s highest court affirms a case relied upon by Jo-

Ann Stores in its moving papers and, as discussed briefly below, supports the arguments made

by Jo-Ann Stores in its pending Motion to Dismiss.

       To support its argument that there is no private right of action for violations of the

frequency of pay provisions of Labor Law Section 191, Jo-Ann Stores argued (1) the Legislature

created an administrative enforcement mechanism for such violations, which indicated no private

right of action was intended; and (2) courts have been unwilling to imply private rights of action

for other parts of Article 6 of the Labor Law where an express right had not been created. See

Jo-Ann Stores Memorandum of Law (Dkt. 13-8), pp. 4, 7, 14. One of the cases Jo-Ann Stores

relied upon was Elvey v. Konkur v. Utica Academy of Science Charter School, 181 A.D.3d 1271,

1272 (4th Dep’t 2020) (no private right of action under NYLL § 198 for violations of illegal wage

kickback provisions of NYLL § 198-b).
         Case 1:21-cv-00791-WMS Document 19 Filed 03/26/22 Page 2 of 3




       Konkur v. Utica Academy of Science Charter School, No. 8, 2022 N.Y. LEXIS 70 (Feb.

10, 2022), affirmed the intermediate appellate decision relied upon by Jo-Ann Stores and

constitutes authority from New York’s highest court supporting Jo-Ann Stores’ arguments in its

Motion to Dismiss. Indeed, Konkur strongly indicates that the New York Court of Appeals

would decline to follow Vega v. CM & Assoc. Constr. Mgt., LLC, 175 A.D.3d 1144 (1st Dep’t

2019), a case Jo-Ann Stores criticized and urged the Court not to follow in its Motion to Dismiss.

       In Konkur, the New York Court of Appeals determined there was no private right of

action to enforce Labor Law Section 198-b, which prohibits wage kickbacks. The Court in

particular noted that Section 198-b could be enforced administratively pursuant to Labor Law

Section 218. Id. at *2, 6. Because the statute already provided “robust enforcement

mechanisms,” the Court declined to find that the Legislature intended there to be a private right

of action to enforce Section 196-b. Id. at *7-8.

       As noted in Jo-Ann Stores’ Motion to Dismiss, the Court’s task is to predict how the New

York Court of Appeals would determine the private right of action issue, i.e., whether it would

accept the Vega analysis or, as urged by Jo-Ann Stores, find that no private right of action exists

to enforce the frequency of pay provisions under Labor Law Section 191. See Jo-Ann Stores

Memorandum of Law (Dkt. 13-8), p. 11. Konkur provides the answer to that question. Konkur

clearly holds a private right of action does not exist where the Legislature created an

administrative enforcement mechanism and did not expressly create a private right of action.

       Indeed, the same enforcement mechanism (Labor Law Section 218) applicable to wage

kickback claims under Section 196-b applies to claims under Labor Law Section 191 for

frequency of pay violations. See Jo-Ann Stores Memorandum of Law (Dkt. 13-8), pp. 4-7, 13.

Thus, it would make no sense for the Court to Appeals to hold there to be no private right of



                                                   2
         Case 1:21-cv-00791-WMS Document 19 Filed 03/26/22 Page 3 of 3




action for wage kickbacks -- where there is a loss of wages -- but that such a private right of

action exists for the frequency of pay provisions under Labor Law Section 191, where employees

have been paid in full, albeit half of their paycheck may have been one week late. Accordingly,

Vega is a New York intermediate appellate decision, but Konkur is “persuasive data that the

highest court of the state would decide otherwise.” DiBella v. Hopkins, 403 F.3d 102, 112 (2d

Cir. 2005). Thus, this Court should ignore Vega and hold that a private right of action does not

exist for violation of the frequency of pay provisions in Labor Law Section 191.1

                                           CONCLUSION

       Based on the foregoing, Defendant Jo-Ann Stores, LLC respectfully requests that the

Court dismiss the Complaint in its entirety, with prejudice, and grant such other relief as the

Court seems just, proper, and equitable.

DATED:         Buffalo, New York
               November 12, 2021
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 Elhassa v. Hallmark Aviation Servs., 21-cv-9768, 2022 U.S. Dist. LEXIS 33051, *7 (S.D.N.Y.
Feb. 24, 2022), concluded Konkur had no relevance to Vega because Vega did not involve an
implied private right of action, but that is demonstrably untrue. See Vega, 175 A.D.3d at 1146-
1147 (finding an implied private right of action for violations of Section 191). Konkur
conclusively demonstrates the New York Court of Appeals would not accept the Vega analysis.
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